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    ~AO 245B      (Rev. 9/00) Judgment in a Criminal Case
                  Sheet 1

                                                                                                                            I c:v ,.~''Y)    "'.~ 10·. 110
                                                                                                                                          ?: r.n         'l
                                                                                                                                    .• " '-I
                                             UNITED STATES DISTRICT COURT
                                                                                                                                                                  :: _. or
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                                              .."; . . /, . . ,r ,.J ;'-,;!~
                                                                                                                                                                   !...,




                    UNITED STATES OF AMERICA                                      AMENDED JUDGMENT IN A CRIMINAL Ct~,~ ~
                                       v.                                         (For Offenses Committed On or After November I, 1987)

                 GLAMIS DUNES STORAGE, INC, (1)                                   Case Number: 14CR1766-WQH

                                                                                    JEREMY WARREN, CJA
                                                                                  Defendant's Attorney
    REGISTRATION NO.
    ~ Correction of Sentence for Clerical Mistake - Restitution amount (Fed. R. Crim. P.36)
    THE DEFENDANT:
    181 pleaded guilty to count(s)....!I....:O:::..:F~T~H~E~IN=...:..::D:..::I~C..:T.:.:.M~E::::.N.:..T~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    D was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                         Nature of Offense                                                                              Number(s)
42 U.S.C. § 300h-2(b)(2)             UNLAWFUL INJECTIONS OF POLLUTANTS
18 USC 2




            The defendant is sentenced as provided in pages 2 through _ _--=::5_ _ _ of this judgment. The sentence is imposed pursuant
    to the Sentencing Refonn Act of 1984.
    D The defendant has been found not guilty on count(s),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    D Count(s) _ _ _ _ _ _ _ _ _ _ _ _ __                                   is   D areDdismissed on the motion of the United States.
    181 Assessment: $400.00


    D Fine ordered waived                    ~ Forfeiture pursuant to order filed                 112/2015              included herein.
             IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
    or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
    defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.


                                                                                  APRIL 13,2015
                                                                                  Date ofIrnposition of Sentence




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AO 245D      (Rev. 311 0) Judgment in a Criminal Case for Revocations
             Sheet 2 -- Probation
                                                                                                         Judgment   Page     2    of     5
DEFENDANT: GLAMIS DUNES STORAGE, INC, (I)
CASE NUMBER: 14CR1766-WQH
                                                                        PROBATION
The defendant is herebv sentenced to nrobation for a term of:
 5 years

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use o~ a ~ontrolled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two penodlc drug te~ts
thereafter as determined by the court. Testing requirements will not exceed submission of more than       drug tests per month durmg
the term of supervision, unless otherwise ordered by court.                                         -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)

D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.


                                        STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
         of each month;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
         the defendant's compliance with such notification requirement.



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       AD 245B      (Rev. 9/00) Judgment in a Criminal Case
                    Sheet 4 - Special Conditions
                                                                                                        Judgment-Page _ _3_ of _.....;;5_ __
       DEFENDANT: GLAMIS DUNES STORAGE, INC, (I)                                                   o
       CASE NUMBER: 14CR1766-WQH




                                                SPECIAL CONDITIONS OF SUPERVISION
D Submit person, residence, office or vehicle to a ~e.arch, conducted by a U~ited States ~rob~tion Officer ~~ a reasonable ti~e and in a  .
    reasonable manner, based upon reasonable SuspICIOn of contraband or eVidence of a vIOlatIOn of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer with 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
~ Subject corporate records and premises to search by the probation officer..
~ The corporation is required to have an effective program to prevent and detect violations of the law.
D Not reenter the United States illegally.
D Not enter the Republic of Mexico without written permission of the Court or probation officer.
D Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant may be required
    to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
~ Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within        days.
D Complete          hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
D Comply with the conditions of the Home Confinement Program for a period of                         months and remain at your residence
    except for activities or employment as approved by the court or probation officer.

D Participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling, as directed by the probation officer.
    The defendant may be required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based
    on the defendant's ability to pay.




                                                                                                                                  14CR1766-WQH
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A0245S     Judgment in Criminal Case
           Sheet 5   Criminal Monetary Penalties

                                                                                                     Judgment - Page _ _4__ of         5

DEFENDANT: GLAMIS DUNES STORAGE, INC. (1)
CASE NUMBER: 14CR1766-WQH

                                                             RESTITUTION

The defendant shall pay restitution in the amount of _ _ _ _$_42_3_.0_0_ _ _ _ unto the United States of America.




         This sum shall be paid __ immediately.
                                 /( as follows:
          Pay restitution in the amount of$423.00 through the Clerk, U. S. District Court. Payment
          of restitution shall be forthwith. The defendant shall pay the restitution during his supervision at the rate of $1 00 per
          month. These payment schedules do not foreclose the United States from exercising all legal actions, remedies, and
          process available to it to collect the restitution judgment.
           Restitution is to be paid to the following victims and distribution is to be made on a pro rata basis.
          Victim                                   Amount                                  Address
          U.S. Bureau of Land                      $243.00                                 1661 South Fourth Street
          Management                                                                       El Centro, CA, 92243

          Imperial County Public                   $180.00                                 935 Broadway
          Health Laboratory                                                                El Centro, CA, 92243


          Until restitution has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney's Office
          of any change in the defendant's mailing or residence/address, no later than thirty (30) days after the change occurs.

          Defendant shall be jointly and severally liable to pay restitution with co-defendants/coconspirators or the same losses.
          The presently known co-defendantslco-conspirators are Michael Jay MAMELLl, Sr.




     The Court has determined that the defendant                     have the ability to pay interest. It is ordered that:
            The interest requirement is waived.

            The interest is modified as follows:




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A0245S       Judgment in Criminal Case
             Sheet 5 - Criminal Monetary Penalties

                                                                                                    Judgment -   Page _ _5_ _ of   5

DEFENDANT: GLAMIS DUNES STORAGE, INC. (1)                                                     II
CASE NUMBER: 14CR1766-WQH

                                                                     FINE

     The defendant shall pay a fine in the amount          ~___$_8,_0_00_._00_ _ _ _ ~... ~ the United States of America.




         This sum shall be paid __ immediately.
                                 /( as follows:


          Pay a fine in the amount of $8,000 through the Clerk, U. S. District Court at the rate of $150.00 per month.




         The Court has determined that the defendant --=d.::.oe:.:s~__ have the ability to pay interest. It is ordered that:

  __ The interest requirement is waived.


           The interest is modified as follows:




                                                                                                   14CR1766-WQH
